                                                                                                           FILED IN THE
            Case 2:15-cr-00133-SMJ         ECF No. 147       filed 10/25/16       PageID.571 EASTERN
                                                                                             PageU.S. 1DISTRICT
                                                                                                        of 1 COURT
                                                                                                     DISTRICT OF WASHINGTON
FL✎ PS 8
(3/15)


                              UNITED STATES DISTRICT COURT                                         Oct 25, 2016
                                                                                                       SEAN F. MCAVOY, CLERK


                                                           for
                                           Eastern District of Washington


U.S.A. vs.                  Fleitas, Carlos Manuel                     Docket No.             2:15CR00133-SMJ-3

                                Petition for Action on Conditions of Pretrial Release

COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER, presenting an official report upon the conduct of
defendant Carlos Manuel Fleitas, who was placed under pretrial release supervision by the Honorable U.S. Magistrate
Judge Cynthia Imbrogno sitting in the court at Spokane, Washington, on the 26th day of May 2016 under the following
conditions:

Standard Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner in conformance with Federal
law. Defendant may not use or possess marijuana, regardless of whether Defendant has been authorized medical marijuana
under state law.

           RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:


Violation #1: The defendant tested positive for the presence of cocaine on September 28, 2016.

                    PRAYING THAT THE COURT WILL ORDER NO ACTION AT THIS TIME
                                                                         I declare under the penalty of perjury
                                                                         that the foregoing is true and correct.
                                                                         Executed on:       October 24, 2016
                                                                 by      s/Erik Carlson
                                                                         Erik Carlson
                                                                         U.S. Pretrial Services Officer

THE COURT ORDERS
[X ] No Action
[ ]  The Issuance of a Warrant
[ ]  The Issuance of a Summons
[ ]  The incorporation of the violation(s) contained in this
      petition with the other violations pending before the
      Court.
[ ]  Defendant to appear before the Judge assigned to the case.
[ ]  Defendant to appear before the Magistrate Judge.
[ ]  Other
                                                                           Signature of Judicial Officer
                                                                                  October 25, 2016

                                                                           Date
